AO 456 (Rev. 5/85) Notice




                            United States District Court
                 EASTERN                            DISTRICT OF                                   TENNESSEE


         UNITED STATES OF AMERICA
              Plaintiff
                                                                                       NOTICE
                            V.
                                                                      Case Number: 2:98-CR-23(4)
         DAVID CROSS
              Defendant

TYPE OF CASE:                                       [] CIVIL                           [X] CRIMINAL


         []      TAKE NOTICE That a proceeding in this case has been set for the place, date and time set forth below:

PLACE                                                            |ROOM NO.
                                                                 |    400
                                                                 |
                                                                 |DATE AND TIME
                                                                 |
                                                                 |
TYPE OF PROCEEDING


         REVOCATION HEARING
         before the Honorable J. Ronnie Greer, U.S. District Judge

         [X]     TAKE NOTICE That a proceeding in this case has been continued as indicated below:

PLACE                                      |DATE AND TIME PREVIOUSLY                              |CONTINUED TO, DATE
U.S. District Court                        |SCHEDULED                                             |AND TIME
220 West Depot Street                      | Monday, 7/11/2005,                                   | Monday, 7/18/2005,
Greeneville, TN 37743                      |   @ 9:00 a.m.                                        | @ 9:00 a.m.



                                                                      Patricia L. McNutt, Clerk

         June 15, 2005                                                S/ Connie S. Lamb
DATE                                                                  (BY) DEPUTY CLERK



To:     Dan R. Smith, AUSA
        James T. Bowman, Esq.




       Case 2:98-cr-00023-JRG Document 265 Filed 06/15/05 Page 1 of 1 PageID #: <pageID>
